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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

                                                   )
ADVANCED SYSTEMS TECHNOLOGY                        )
AND MANAGEMENT, INC.,                              )
                                                   )
                 Plaintiff,                        )
                                                   )
                         V.                        )   Civi I Action No. 1: 18-cv-00988 (LO/TCB)
                                                   )
FEI GUAN,                                          )
                                                   )
                 Defendant.                        )
__________ _____ _                                 )

                              REPORT AND RECOMMENDATION

       THIS MATTER comes before the Court pursuant to the Order entered on September 5,

2018 (Dkt. 55). 1 For the reasons stated below, the undersigned Magistrate Judge recommends that

Defendant' s -         counsel turn over Hard Drives 2.0 and 2.1 to Plaintiff, but that any accounting

of the documents contained therein is unnecessary. Further, the undersigned recommends that       •
•    counsel not be required to disclose any other documents, as all other documents in its

possession appear to pertain solely to the ongoing- action.

       On August 9, 2018, Plaintiff Advanced Systems Technology and Management, Inc.

("Plaintiff') filed a complaint against Defendant Fei G uan (" Defendant"), alleging several counts

of misappropriation of trade secrets (Dkt. 1). On August 10, 2018, Plaintiff filed an Emergency

Motion for a Temporary Restraining Order, Preliminary Injunction, and Expedited Discovery




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 Relevant fi lings before the Court include Plaintiff's Emergency Motion to Compel Compliance
with Preliminary Injunction Order (Dkt. 41) ("Pl. ' s Mot.") and accompanying Memorandum of
Law in Support (Dkt. 42) (" Pl. 's Mem."); and Defendant Fei Guan's Opposition to Plaintiff's
Emergency Motion to Compel Compliance with Preliminary Injunction Order (Dkt. 52) (" Def. 's
Opp' n" ).
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(Dkt. 4). On August 13, 20 18, the Court entered a Temporary Restraining Order (Dkt. 9), which

the Court later converted into a Preliminary Injunction Order ("PI Order") on August 24, 2018

(Dkt. 37). On August 28, 2018, Defendant submitted an accounting to Plaintiffs counsel in

response to the PI Order. (Pl. ' s Mem. at 2, Ex. A.) Plaintiff responded by filing an emergency

motion to compel compl iance with the PI Order, in which it raised several areas of concern

regarding Defendant's compliance with the PI Order. (Id. at 3.) Chief among those concerns was

Defendant's -           counsel ' s continued possession of Plaintiffs documents. (Id.) Defendant

replied that the PI Order did not cover -             counsel' s possession of Plaintiffs documents

because, in part, Defendant no longer had custody or control over those documents. (Def. 's Opp'n

at 2-4.) On September 4, 20 18, the District Judge held a hearing on Plaintiffs emergency motion

and on September 5, 20 18, granted in part Plaintiffs motion (Dkt. 55). The Court found that

Defendant did indeed control the documents in -           counsel's possession, thus subjecting those

documents to the PI Order. (1.Q_,_) Pursuant to the September 5th Order, it was referred to the

undersigned Magistrate Judge to determine "what documents were and are presently possessed by

Defendant's - counsel and what actions were taken to preserve, or destroy, or transfer them"

and that the undersigned " shall determine how she shall proceed further in this matter." (1.Q_,_)

Defendant' s -       counsel was instructed to file under seal ex parte a signed affidavit providing

information regarding the documents in its possession. (Id.) The undersigned received the

requested affidavit on September 12, 2018.

       Defendant' s -           counsel states that Defendant, upon retaining -             counsel,

provided counsel with two sets of documents: (1) electronic copies of documents provided via

email and electronic file upload link and (2) a hard drive ("Hard Drive 2.0"), which counsel

partially copied ("Hard Drive 2.1 "). After reviewing Defendant's -              counsel's ex parte



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submission, the Court is satisfied that the documents provided via email and electronic fi le upload

relate solely to the pending -        action. No further accounting or disclosure of those documents

should be necessary.

         However, with regard to Hard Drives 2.0 and 2. 1, the documents located on those devices

are not necessary for the ongoing -          action, as the government has indicated that it does not

need the Hard Drives to finish its investigation. -         counsel informed the Court that it only

conducted a superficial, cursory review of those Hard Drives, which Defendant and -

counsel have offered to reh1rn to Pla intiff. Since -        counsel did not review the information

on the Hard Drives in detail and it is not necessary to the -          investigation, it is appropriate

that Defendant and -             Counsel only be required to return the Hard Drives, without an

inventory.

         Therefore, the Court RECOMMENDS that the Hard Drives be promptly returned to

Plaintiff, but that no accounti ng or descriptions be necessary. Further, the Court RECOMMENDS

that -        counsel not be required to make any additional document disclosures, as all other

documents in its possession appear to relate solely to the ongoing -          action.




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                                            NOTICE

       T he parties are advised that objections to this Report and Recommendation, pursuant to

28 U.S.C. § 636 and Rule 72(b) of the Federal Rules of Civil Procedure, must be filed within

fourteen ( 14) days of its service. Fai lure to object to this Report and Recommendation waives

appellate review of any judgment based on it.




                                             THERESA CARROLL BUCHANAN
                                             UNITED STATES MAGISTRATE JUDGE
                                                                Isl
September 1fa , 20 18                            Theresa Carroll Buch,man
Alexandria, Virginia                            Uni led States Magistrate J uJge




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